                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


HEATHER ADAMS and DENISE COOK,                    )
individually and on behalf of others similarly    )
situated,                                         )
                                                  )
                     Plaintiffs,                  )
                                                  )
       v.                                         )             1:16CV1051
                                                  )
SITEL OPERATING CORPORATION,                      )
a Delaware corporation,                           )
                                                  )
                     Defendant.                   )


                                       JUDGMENT

       For the reasons set forth in the Order filed contemporaneously with this Judgment,

       IT IS HEREBY ORDERED AND ADJUDGED that the parties’ Joint Motion for

Final Approval of Collective/Class Action Settlement and Plaintiffs’ Unopposed Motion for

Attorneys’ Fees, Litigation/Settlement Administration Expenses, and Class Representative

Service Awards, (ECF Nos. 37, 39), are GRANTED. This case is hereby DISMISSED WITH

PREJUDICE.

       This, the 29th day of May, 2019.



                                           /s/ Loretta C. Biggs
                                           United States District Judge




      Case 1:16-cv-01051-LCB-JLW Document 47 Filed 05/29/19 Page 1 of 1
